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                 Exhibit A
                    to Declaration of Nilay U. Vora




                                                                   Exhibit A
                                                                           8
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   13     Attorneys for Plaintiffs
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   15
                           IN THE UNITED STATES DISTRICT COURT

   16
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA

   17
                                      WESTERN DIVISION

   18   PAUL SNITKO, JENNIFER                       Case No. 2:21-cv-04405-RGK-MAR
        SNITKO, JOSEPH RUIZ, TYLER
   19   GOTHIER, JENI VERDON-                       PLAINTIFFS’ SECOND SET OF
        PEARSONS, MICHAEL STORC,                    REQUESTS FOR DOCUMENT
   20   and TRAVIS MAY,                             PRODUCTION
   21                                 Plaintiffs,
   22                v.
   23   UNITED STATES OF AMERICA,
        TRACY L. WILKISON, in her                   Judge: Hon. R. Gary Klausner
   24   official capacity as Acting United
        States Attorney for the Central             Complaint Filed: May 27, 2021
   25   District of California, and KRISTI
        KOONS JOHNSON, in her official              Amended Complaint Filed: June 9, 2021
   26   capacity as an Assistant Director of
        the Federal Bureau of Investigation,
   27
                                     Defendants.
   28

                                                                         Exhibit A
                    PLAINTIFFS’ SECOND SET OF REQUESTS FOR DOCUMENT PRODUCTION
                                                                                 9
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    1         Plaintiffs Paul Snitko, Jennifer Snitko, Joseph Ruiz, Tyler Gothier, Jeni
    2   Verdon-Pearsons, Michael Storc, and Travis May, through their attorneys, hereby
    3   propound this Second Set of Requests for Document Production pursuant to Fed.
    4   Rs. Civ. P. 26 & 34.
    5

    6         Instruction:
    7         Plaintiffs request that all documents be produced in electronic, searchable
    8   format, such as a searchable PDF or native electronic file.
    9

   10         Requests:
   11         6.     All written directions provided to law enforcement officials in
   12   connection with the March 2021 search of U.S. Private Vaults.
   13         Answer:
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   16         7.     All internal policy documents applied to guide the conduct of law
   17   enforcement officials during the March 2021 search of U.S. Private Vaults,
   18   including but not limited to complete and unredacted copies of all pertinent
   19   provisions contained in the FBI’s 2016 Domestic Investigations and Operations
   20   Guide.
   21         Answer:
   22

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   24         8.     All written inventories produced during the March 2021 search of U.S.
   25   Private Vaults boxes of the named Plaintiffs in this action and of all other
   26   individuals listed in response to Interrogatory Number 9.
   27         Answer:
   28
                                                  2                        Exhibit A
                    PLAINTIFFS’ SECOND SET OF REQUESTS FOR DOCUMENT PRODUCTION   10
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    2         9.     All video recordings produced during the March 2021 search of U.S.
    3   Private Vaults boxes of the named Plaintiffs in this action and of all other
    4   individuals listed in response to Interrogatory Number 9.
    5         Answer:
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    8         10.    All internal policy documents that will be applied to govern the
    9   retention and subsequent use of inventories, video recordings, or other documents
   10   produced during and/or as a result of the March 2021 search of U.S. Private Vaults
   11   boxes of the named Plaintiffs in this action and of all other individuals listed in
   12   response to Interrogatory Number 9.
   13         Answer:
   14

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   16         11.    A full copy of the seizure and search warrants issued for the search and
   17   seizure of U.S. Private Vaults’ business property by Defendants in March 2021, as
   18   well as all applications for all such warrants, and all materials submitted in support
   19   of those applications, including any affidavits submitted in support.
   20         Answer:
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                                                   3                        Exhibit A
                    PLAINTIFFS’ SECOND SET OF REQUESTS FOR DOCUMENT PRODUCTION    11
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    1   Dated: November 5, 2021                Respectfully Submitted,
    2

    3                                              ____________________________s
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   16                                              Attorneys for Plaintiffs

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                                               4                         Exhibit A
                   PLAINTIFFS’ SECOND SET OF REQUESTS FOR DOCUMENT PRODUCTION  12
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    1                            CERTIFICATE OF SERVICE
    2         I hereby certify under penalty of perjury that the foregoing Plaintiffs’ Second
    3   Set of Requests for Document Production are complete and correct, and were
    4   served on Defendants’ counsel via electronic mail and First Class Mail on
    5   November 5, 2021 to the following:
    6
              Victor Rodgers
    7
              Assistant United States Attorney
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              Los Angeles, California 90012
   10         victor.rodgers@usdoj.gov
   11
                                                     _______________________
   12
                                                     Robert Frommer
   13                                                Attorney for Plaintiffs
   14

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                                                 5                        Exhibit A
                   PLAINTIFFS’ SECOND SET OF REQUESTS FOR DOCUMENT PRODUCTION   13
